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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                         CRIMINAL NO. 16-cr-00297-03

 VERSUS                                           JUDGE WALTER

 RACHEL A. FOTHERGILL (03)                        MAGISTRATE JUDGE HORNSBY


                                         ORDER

        The Report and Recommendation of the Magistrate Judge having been considered,

 and the parties having waived their objections thereto;

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant’s

 guilty plea is accepted, and the court hereby adjudges Defendant guilty of the offenses

 charged in Count 1 of the Indictment.

        THUS DONE AND SIGNED in Shreveport, Louisiana, this 7th day of August, 2017.




                                                 DONALD E. WALTER
                                             UNITED STATES DISTRICT JUDGE
